Case 2:14-cv-11916-GCS-SDD ECF No. 74-4, PagelD.2235 Filed 03/24/16 Page 1 of 27

EXHIBIT C
Case 2:14-cv-11916-GCS-SDD ECF No. 74-4, PagelD.2236 Filed 03/24/16 Page 2 of 27

Chocolate Factory Tour Coordinator (23770 Hall Rd.; Clinton Town...
robot@craigslistorg May 71

To natalie_19 99@yahoo.com

reeserdk@yahoo.com forwarded you this from craigslist

Chocolate Factory Tour Coordinator

http /detraitcraigstistorg/mcb/mar/4455560672.himl

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Case 2:14-cv-11916-GCS-SDD ECF No. 74-4, PagelD.2237 Filed 03/24/16 Page 3 of 27

robot@craigslist.org

To natalie_19_ 99@yahco.com

reeserdk@yahoo.com forwarded you this from craigslist:

Kennel Staff/Dog Attendant
hitp://detroit.craigslistora/meb/lab/4464032583 him!

May 11

REESER-2
Case 2:14-cv-11916-GCS-SDD ECF No. 74-4, PagelD.2238 Filed 03/24/16 Page 4 of 27

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Experienced Caregiver Positions Open! Macomb & Oakland Countie...

robot@craigstist.arg , May 74

To natalie_19 99@yahoo,com

reeserdk@yahoo.com forwarded you this from craigslist

Experienced Caregiver Positions Open! Macomb & Oakland
Counties

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Case 2:14-cv-11916-GCS-SDD ECF No. 74-4, PagelD.2239 Filed 03/24/16 Page 5 of 27

rebot@craigsiist.org

To natalie_19 99@yahoo.com

reeserdk@yahoo.com forwarded you this.from craigslist

Recreation Instructor

May 11

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Case 2:14-cv-11916-GCS-SDD ECF No. 74-4, PagelD.2240 Filed 03/24/16 Page 6 of 27

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Self Storage Asscociate (Sterling Hieghts)

rabot@craigstist.org

Ta natalie 19 99@yahoc.com

reeserdk@yahoo.com forwarded you this from craigslist:

Self Storage Asscociate

hito://detroit craigslist org /mceb /csr/4460269084, htm]

May 11

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Case 2:14-cv-11916-GCS-SDD ECF No. 74-4, PagelD.2241 Filed 03/24/16 Page 7 of 27

Kitchen Positions Hiring at Wabeek CC (Oakland County) _
robot@craigslist.org May 14

To natalie_19 99@yahoo.com

reeserdk@yahoo.com forwarded you this from craigslist

Kitchen Positions Hiring at Wabeek CC

htto://detroitcraigsiist.orc/old/fbh/4465455552 him

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Case 2:14-cv-11916-GCS-SDD ECF No. 74-4, PagelD.2242 Filed 03/24/16 Page 8 of 27

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Comerica Park ~ Servers/Bartenders (SPORTSERVICE - Comerica Park)

robot@craigstist.org May 11

To natalie_19 99@yahco.com

reaserdk@yahoo.com forwarded you this from craigstist:

Comerica Park - Servers/Bartenders

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Case 2:14-cv-11916-GCS-SDD ECF No. 74-4, PagelD.2243 Filed 03/24/16 Page 9 of 27

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FH parses mtn ag!

‘View this posting on Milalent.org

webnoreply@michigan.gqov May 13

Raitt neuen eS eR
Torfiatalle- 18 SIO yebol coin,

Hallo;
The below job has been recommended for you.
Job Title - Lab Assistant.(St John Macomb - Laboratory FT/Days)
Link - hitps:/Aobs.mitalentorg/jab-seeker/job-details/1638633
Thank you,

- Pure Michigan Talent Connect

Www. mitalentorg

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Case 2:14-cv-11916-GCS-SDD ECF No. 74-4, PagelD.2244 Filed 03/24/16 Page 10 of 27

.. andidate Confirmation at St, John Providencé Health System_

wt

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“. Worklife Services May 14

To natalie 19 99@yahoo.com Natalie Reeser

Req. Number: 0170364159a

Dear Natalie K Reeser,

Thank you for applying to the position of Lab Assistant (St John Macomb -
Laboratory FT/Days) at St. John Providence Health System, one of the 101 Best
& Brightest Companies to work for in Metre Detroit, Our vision is to provide
the highest quality patient care experience everyday, everywhere, for everyone,
and we do this by recruiting and retaining top caliber associates.

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REESER-9

Case 2:14-cv-11916-GCS-SDD ECF No. 74-4, PagelD.2245 Filed 03/24/16 Page 11 of 27

Worlktife Services 7 May 14

Yo natalie_19 S9@yahoo.com Natalie Reeser

Req. Number: 01702170656
Dear Natalie K Reeser,

Thank you for applying to the position of Lab Assistant - Phlebotomist (St.
John Health - Outreach/Draw Sites Ff/Days) at St, John Providence Health
System, one of the 101 Best & Brightest Companies to work for in Metro
Detroit. Our vision is to provide the highest. quality patient care experience

" everyday, everywhere, for everyone, and we do this by recruiting and retaining
top caliber associates.

- ou REESER-10

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Case 2:14-cv-11916-GCS-SDD ECF No. 74-4, PagelD.2246 Filed 03/24/16 Page 12 of 27

Candidate Confirmation at St, John Providence Health System

Worklife Services . May 14

To natalie 19 99@yahoo.com Natalie Reeser

Req. Number: 0170368124
Dear Natalie K Reeser,
Thatik you for applying to the position of Lab Assistant (St John Macomb -
Laboratory CT/Days) at St John Providence Health System, one of the 101 Best
& Brightest Companies to work for in Métro Détroit. Our vision is to. provide
the highest quality patient care experience everyday, everywhere, for everyone,
and we do this by recruiting and retaining top caliber associates.

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Case 2:14-cv-11916-GCS-SDD ECF No. 74-4, PagelD.2247 Filed 03/24/16 Page 13 of 27

Worldife Sarvices May 14

To natalie_19 99@yahoo.com Natalie Reeser

Req. Number: 01701070656
Dear Natalie K Reeser,
Thank you for applying to the position of Lab Assistant (SJHMC - Specimen
Processing FT/Aftn-Evenings) at St John Providence Health System, one of the
101. Best & Brightest Companies to work for in Metro Detroit. Our vision is to

provide the highest quality patient care experience everyday, everywhere, for
_ everyone, and we do this by recruiting and retaining top caliber associates.

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< , Hidate Confirmation at St. John Providence Health System.

Worklife Services . May 14

To natalis,19 99@yahoo.com Natalie Reeser

Req. Number: 0170312209
Dear Natalie K Reeser,

Thank you for applying to the position of Lab Tech | (SJH&MC - J Clinical Lab
FT/MIN) at Si. John Providence Health System, one of the 101 Best & Brightest
Companies to work for in Metro Detroit. Our vision is to provide the highest
quality patient care experience everyday, everywhere, for everyone; and we do

. this by recruiting and retaining top caliber associates.

Please note that submitting an employment application is the first step in our
employment screening process. A SJPHS representative will thoroughly review
your, application to determine whether you will proceed to the next step. If

. selected, you will be contacted via email or telephone and given further

instruction regarding completing thé riext step in our process.

The SJPHS representatives are unable to provide you. with an application status
update over the telephone, but you may review your submission status online.
Please select the "my JobPage” tab upon logging into your online profile and
scroll down to view the “Completed Submissions" heading. This heading
precedes a listing of applications you have submitted and a submission status is
listed underneath each application, This page is currently updated to reflect any
new status updates that may occur.

Thank you for considering SJPHS as your future employer, and we look forward
te working with you.

Sincerely,
Human Resources
St. John Providence Health System

Replies to this message are undeliverable and will not reach Human Resources.
Please do not reply.

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Case 2:14-cv-11916-GCS-SDD ECF No. 74-4, PagelD.2248 Filed 03/24/16 Page 14 of 27

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SJPHS - Skills Assessment - Laboratory Support :

Worldife Services May 24

To natalie_19_99@yahoo.com

Dear Natalie K Reeser,

This is an invitation to take our brief skills assessment, "Laboratory Support” Please visit the following
link: htto://es.askill.com/es/quiz/?testid =b20d4634d0b22abf

The test will begin only after you've fogged in and read the Directions. ‘Alternatively; you can go
to litte: //wwwesiilicom/ and under "Here for a Test?” click Enter. Then provide the following ID.
b30d4634d0b22abf.

‘

St John Providence Health System is 4 great place to work and grow professionally - thanks. again for ~

considering us as your future employer.
Best regards,

Talent Center - Hurman Resources
St. John Providence Health System

www. stiohnprovidence.org

(Replies to this message are undeliverable and will not reach Human Resources. Please do not reply)

Case 2:14-cv-11916-GCS-SDD ECF No. 74-4, PagelD.2249 Filed 03/24/16 Page 15 of 27

REESER-14
Case 2:14-cv-11916-GCS-SDD ECF No. 74-4, PagelD.2250 Filed 03/24/16 Page 16 of 27

thank you for applying at Shelby Crossing Health Campus .

autoreply@icims.com Jun 2

To natalie_19 99@yahoo.com

Dear Natalie:

Thank you very much for your recent resume submission to Trilogy Health Services. Your information will be
reviewed by our recruiting staff; and we will contact you soon, should ‘we feel that your background meets
our current needs. if you have not completed our full employment application, we encourage you to do so,
at'your convanience..

https://trilogyhs icims.com/forms?form=Application for Emplovment&iten= 127373

Sincerely,

Trilogy Recruiting Team

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Case 2:14-cv-11916-GCS-SDD ECF No. 74-4, PagelD.2251 Filed 03/24/16 Page 17 of 27

__ewthis posting on MiTalentorg

yiP

webnoreply@michigan.gov Jun 4

To natalie_19 S9@yahoo.com

Hallo,

‘The Helow job has been recommended for you.

Job Title.- Collections Tech | Macomb Oakland County Territor
Link - https://jobs.mitalentorg/job-seeker/job-details/ 1658262.

Thank you,
Pure Michigan Talént Connect.
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. ., View this posting on MiTalent.org

C webnoreply@michigan. gov Jur 1

To natalie_19_ 99@yahoo.com

Hello,
The below job has been recommended for you,

Job Title ~ Experienced Phlebotornist
Link = https:/Aobs.mitalentorg/job-seeker/job-details/1673544

Thank you,
Pure Michigan Talent Connect
waw.mitalentorg

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Case 2:14-cv-11916-GCS-SDD ECF No. 74-4, PagelD.2253 Filed 03/24/16 Page 19 of 27

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webnoreply@michigan.gov - dunt

To natalie_19 99@yahoo.com

Hella,
The below job has been recommended for you.

Job Title - Cake Decorator ~ 26 Mile Rd, Washington Twp MI
Link ~ hitps:/ffobs.mitalent.org/job-seeker/job-details/1661445

Thank you,
Pure Michigan Talent Connect
waw.mitaientorg

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Case 2:14-cv-11916-GCS-SDD ECF No. 74-4, PagelD.2254 Filed 03/24/16 Page 20 of 27

View this posting on MiTalent.org

' webnoreply@michigan.gov

To natalie_19 99@yahoo.com

Hello,

The below job has been recommended for you.

' Job Title - RESERVATIONS AGENT

Link - hitps://fobs.mitalentorgfob-seeker/iob-details/1668534
Thank you,

Pure Michigan Talent Connect
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Case 2:14-cv-11916-GCS-SDD ECF No. 74-4, PagelD.2255 Filed 03/24/16 Page 21 of 27

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View this posting on MiTalent.org

webnoreply@michigan.goy dun 1
To natalie_19 99@yahoo.com

Hello,

The below job has been recommended for you,

Job Title - Activity Assistant
Link ~ https://jobs.mitalent.org/job-seeker /job-details/1668116

Thank you,
Pure Michigan Talent Connect
www.mitalentorg

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Case 2:14-cv-11916-GCS-SDD ECF No. 74-4, PagelD.2256 Filed 03/24/16 Page 22 of 27

webnoreply@michigan.gav Fuad

To natalie 19 99@yahoo.com

Hello,
The below job has been recommended for you.

Job Title ~ Administration Assistant
Link ~ httas://jobs.mitalentorg/job-seeker/job-details/1677899

Thank you,
Pure Michigan Talent Connect:

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Case 2:14-cv-11916-GCS-SDD ECF No. 74-4, PagelD.2257 Filed 03/24/16 Page 23 of 27

wobnoreply@michigan.gov Jars 'f

To natalie_19 99@yahoo.com

Hello,
The below job has been recommended for you,

Job Title - After Hours Coordinator
Link ~ https://jobs.mitalént.org/job-seeker/job-details/1405768

Thank you;
Pure Michigan Talent Connect
www. mitalentorg

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Case 2:14-cv-11916-GCS-SDD ECF No. 74-4, PagelD.2258

webnoreply@michigan.gov

To natalie_19 99@yahoo.com

Hello,

The below job has been recothmended for you.

Job Title - Photo Lab Technician

Link ~ https://iobs.mitalent.org /job-seeker/job-details/1678597
Thank you:

Pure Michigan Talent Connact.

Www. mitalentorg.

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Case 2:14-cv-11916-GCS-SDD ECF No. 74-4, PagelD.2259 Filed 03/24/16 Page 25 of 27

jobs@csiplasma.atrarkeystem. net Mar 7

To natalie 19 99@yahoo.com

Dear Natalie Reeser,

Thank you for applying to the Phiebotomist (Part Time) position in the Roseville 077 location.

Your assessment has been successfully completed. Due to the high volume of applications we receive, your
application will be reviewed and only those candidates whose qualifications best match our needs will be
cantacted.

in the event there is not a current opening for the position you are interested, your information will be retained
for future openings.

We appreciate your interest in CSL Plasma.

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Case 2:14-cv-11916-GCS-SDD ECF No. 74-4, PagelD.2260 Filed 03/24/16 Page 26 of 27

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CSL Plasma - Your Assessment has been successfully completed!

jobs @cslplasrma.etracksystem neat Mar 7

To natalle_19_ 99@yahoo.com ~

Dear Natalie Reeser,

Thank you for applying to the Phlebotomist (Full Time} position in the Pontiac 124 location.

Your assessment has been successfully completed. Due to the high volume of applications we receive, your
application will be reviewed ‘and only those candidates whose qualifications best match cur needs will be
contacted.

in the event there Is not a cument opening for the position you are interested, your information will be retained
for future openings. .

We appreciate your interest in CSI. Plasma.

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Case 2:14-cv-11916-GCS-SDD ECF No. 74-4, PagelD.2261

Watalie K. Reeser

To miandrum@cashischool.com Natalie 79.99
Hello,.
Please See Attached Resume, Jam perfect for this Fosition.
Thank you.

Natalie Reeser

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